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rN THE vUNITED STATES DISTRICT COURT
FOR THE DISTRICT OF IDAHO

KENDRA KENYON, an individual, _
Case No. 1 : 15 -cv~OOOGO-REB

Plaintiff, , (Lead case)

' 1:15-cv~00061-REB
vs. - (Companion case)
C.L. “BUTCH” OTTER, Governor of Idaho, in ORDER GRANTING STIPULATION
his individual capacity, et al., TO DISMISS P_URSUANT TO

FED. R. CIV. P. 41 (a)(l)(A)(ii)
Defendants.

 

` SARAH E. SCOTT,
Plaintiff,

. VS.

C.L. “BUTCH” GOvernor of Idaho, in his
individual capacity, et al.,

 

Defendants.

Based on the Parties’ Stipulation to Dismiss Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii)

.:The Court hereby ORDERS:
That these cases'be dismissed with prejudice, With each party to bear their own costs and

attorney fees.

Dated: |v|arch 01, 2018

%M‘b/'W*-~

Honorab|e Ronald E. Bush
Chief U.S. Magistrate Judge

ORDER GRANTING sTIPULATION TO DISMISS PURSUANT TO FED. R. CIV. P. 41
(a)(l)(A)(ii) - 1

 

 

